Case 6:18-bk-01138-CCJ Doc 49 Filed 07/08/19 Page 1 of 22

7/08/19 1:14PM

Fill in this information to identify your case:

Debtor 1 Gerald W. Deemer

First Name Middie Name Last Name

 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: © MIDDLE DISTRICT OF FLORIDA

Case number 6:18-bk-01138
(if known) Mi Check if this is an
amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

EERERE) Summarize Your Assets

 

 

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
1a. Copy line 55, Total real estate, from Schedule AVB......-....csssssessssssesesnnceesseevee ne nee $ 141,798.00
1b. Copy line 62, Total personal property, from Schedule A/B.....c.cccccceccseccerseserecsssspeeterssereeeeeetbeseeeteeseeneeeeeeeeneneeenenens $ 3,910.82
1c. Copy line 63, Total of all property on Schedule AVB...........c.csccceceeseeeseeceseueneeesanecessaarnenennenstarseneaecanneeeaenerennenerecey $ 145,708.82

Summarize Your Liabilities _ ee

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 175,097.00
3. | Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EVF........cccccssereseeeneenenees $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...........ec rere $ 5,987.56
Your total liabilities | $ 181,084.56

 

 

(ERK Summarize Your Income and Expenses _

4. Schedule |: Your Income (Official Form 1061) 2
Copy your combined monthly income from line 12 Of SCHEMUIE 1... cce.cs cece cseceeseeeee cc ece iets en ns enebeneveniengeeneeuevevievarsuneees $ 3,215.58

 

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHECUIO J. o..ccccceccccesecctecepestcaesceeseupstesepneureeneesssereeeseeeesneenee

za Answer These Questions for Administrative and Statistical Records

$ 2,637.30

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M@ Yes
7. What kind of debt do you have?

mi «Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

O Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 2 of 22

7/08/19 1:14PM
Debtor1 Gerald W. Deemer Case number (if known) 6:18-bk-01138
8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 3,850.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
Qg. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 3 of 22

7/08/19 1:14PM

Fill in this information to identify your case:

Debtor 1 Gerald W. Deemer

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

Case number 6:18-bk-01138 Sheehan tists:
(If known) Hi An amended filing

O A supplement showing postpetition chapter
13 income as of the following date:

Official Form 1061 MMTDD/YYYY
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

ENSHBMMM Describe Employment

1. Fill in your employment

intonmanont Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, Empl ee I Employed CJ] Employed
attach a separate page with mployment status
information about additional C1 Not employed C1 Not employed
employers.
ey Occupation Parts Manager 2
Include part-time, seasonal, or . i.
self-employed work. FM Automotive Collission
Employer's name Center
Occupation may include student
or homemaker, if it applies. Employer's address
How long employed there? 1 1/2 year

EECA Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-fiting
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

2. deductions). If not paid monthly, calculate what the monthly wage would be, 2. $ 3,850.00 $ NIA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 + NIA
4, Calculate gross Income. Add line 2 + line 3 4. $ 3,850.00 $ NIA

Official Form 1061 Schedule I: Your Income page 4
Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 4 of 22

7/08/19 1:14PM

 

Debtor1 Gerald W. Deemer Case number (ifknown) 6:18-bk-01138
For Debtor 7 For Debtor 2 or
non-filing spouse
Copy line 4 here 4. $ 3,850.00 § NIA
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 565.05 $ NIA
5b. Mandatory contributions for retirement plans 5b. §$ 0.00 $ N/A
5c. Voluntary contributions for retirement plans 5c. $ 0.00 $ NIA
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ N/A
5e. Insurance 5e. §$ 49.37 $ N/A
5f. Domestic support obligations Sf. $ 0.00 $ N/A
5g. Union dues 5g. $ 0.00 $ NIA
Dental & Vison (Starting March 1,
5h. Other deductions. Specify: 2018) 5h.+ §$ 20.00 + $ N/A
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. $ 634.42 $ NIA
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. §$ 3,215.58 $ N/A
8. List all other income regularly received:
8a. Netincome from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a, $ 0.00 $ N/A
8b. Interest and dividends 8b. $ 0.00 ¢$ N/A
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c. §$ 0.00 $ N/A
8d. Unemployment compensation 8d. $ 0.00 $ NIA
8e. Social Security 8e. $ 0.00 $ N/A
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: ef. §$ 0.00 $ N/A
8g. Pension or retirement income 8g. $ 0.00 $ NIA
8h. Other monthly income. Specify: 8h.+ §$ 0.00 + $ N/A
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. |$ 0.00 | | $ N/A |
10. Calculate monthly income. Add line 7 + line 9. 10. °$ 3,215.58 | + 3 N/A ; $ 3,215.58 |
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. — _ |
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12. § 3,215.58
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

a No.
Oo Yes. Explain:

Official Form 1061 Schedule I: Your Income page 2
Case 6:18-bk-01138-CCJ Doc 49 Filed 07/08/19 Page 5 of 22

7108/19 1:14PM

 

Fill in this information to identify your case:

Debtor 1 Gerald W. Deemer Check if this is:

w Anamended filing
Debtor 2 Ol Asupplement showing positpetition chapter
(Spouse, if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA MM/DD/YYYY

Case number 6:18-bk-01138

(If known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household
|. Is this a joint case?

HH No. Go to line 2.
C1 Yes. Does Debtor 2 live in a separate household?

C1 No
C1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? MH No

Do not list Debtor 1 and O yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.........:0:+ Debtor 1 or Debtor 2 age live with you?
ee

Do not state the ONo
dependents names. O Yes

ONo

DO Yes

DO No

DO Yes

ONo

O Yes

3. Do your expenses include HNo

expenses of people other than gO
yourself and your dependents? Yes
[2PM Estimate Your Ongoing Monthly Expenses _
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your Income

(Official Form 1061.) Your expenses

4, The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. $ 867.28
If not included in line 4:
4a. Real estate taxes 4a. § 0.00
4b. Property, homeowner's, or renter’s insurance 4b. §$ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c, $ 50.00
4d Homeowner's association or condominium dues Ad. $ 7.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 6:18-bk-01138-CCJ Doc 49 Filed 07/08/19 Page 6 of 22

Debtori1 Gerald W. Deemer

6

13.
14.
15.

16.

17,

18.

19.

20.

21.

22.

23.

24.

Utilities:

6a. _ Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

Food and housekeeping supplies

Childcare and children’s education costs

Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

Installment or lease payments:

17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2

17c. Other. Specify:

17d. Other. Specify:

Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106)).
Other payments you make to support others who do not live with you.

Specify:

Case number (if known)

6a.
6b.
6c.
6d.
7.
8.
9.
10.
11.

12.
13.
14.

AAS fA HYFPHFAPrAThnHAeAm S&S

15a.
15b.
15c.
15d.

AAAS

16.

“A

17a.
17b.
17c.
17d.

18.

ne rAnAnAeA

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses
20e. Homeowner's association or condominium dues
Other: Specify: pet expenses

Calculate your monthly expenses
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.
Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I.
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income
The result is your monthly net income.

20a. $
20b. $
20c. $
20d. $
20e. $
21. +$

23a. $
23b. -$

23c. $

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because ofa

modification to the terms of your mortgage?
BNo
LD Yes Explain here:

Official Form 106J Schedule J: Your Expenses

7108/19 1:14PM

6:18-bk-01138

130.00
35.00
56.00

0.00
400.00
0.00
45.00

100.00
25.00

200.00

25.00
0.00

0.00
0.00
140.00
0.00

0.00

457.02
0.00
0.00
0.00

0.00
0.00

0.00
0.00
0.00
0.00
0.00
100.00

2,637.30

2,637.30

3,215.58
2,637.30

578.28

page 2
Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 7 of 22

7108/19 1:29PM

Fill in this information to identify your case;

 

Debtor 1 _Gerald W. Deemer

First Name Middie Name —_ Last Name
Debtor 2 a
{Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © MIDDLE DISTRICT OF FLORIDA

 

Case number 6:18-bk-01138 ;
(if known) OO Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42115

 

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Lo Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No

DD Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
- : ~ Declaration, and Signature (Official Form 119)

Under penalty of perjury, ! declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

 

X /s/ Gerald W. Deemer X _
Gerald W. Deemer Signature of Debtor 2
Signature of Debtor 1
Date July 8, 2019 Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 8 of 22

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Fill in this information to identify your case:

Debtor 1 Gerald W. Deemer

First Name Middle Name Last Name

 

 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

Case number 6:18-bk-01138
(if known) HE Check if this is an
amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/45

If you are an individual filing under chapter 7, you must fill out this form if:
I creditors have claims secured by your property, or

HB you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list

on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

E0SH List Your Creditors Who Have Secured Claims

 

1, For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

 

Identify the creditor and the property that Is collateral - What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors DT Credit Company, LLC C1 Surrender the property. XO No
name: [1 Retain the property and redeem it.
ae M8 Retain the property and enter into a M Yes
Description of 2008 Ford Escape 177,297 miles Podemelonrincement
property VIN 1FMCU031X8KD85066 C1 Retain the property and [explain]:
securing debt: _
Creditors Specialized Loan Servicing IM Surrender the property No
name: CO Retain the property and redeem it
_ OO Retain the property and enter into a 0 Yes
Description of 16223 Hillside Circler Reaffirmation Agreement,
property Montverde, FL 34756 Lake OC Retain the property and [explain]:

securing debt: County

 

List Your Unexpired Personal Property Leases _ .
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill

in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor1 Gerald W. Deemer

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessors name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Sign Below

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Case number (if known)

6:18-bk-01138

0O A8oaa ooo oa 86 oe me lm

No

Yes

No

Yes

No

Yes

No

Yes

No

Yes

No

Yes

No

Yes

7108/19 1:24PM

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X_ /si Gerald W. Deemer xX
Gerald W. Deemer Signature of Debtor 2
Signature of Debtor 1

Date July 8, 2019 Date

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

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page 2

Best Case Bankruptcy
Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 10 of 22

7/08/19 1:24PM

 

TTT UTADA CoA OM oleic Check one box only as directed in this form and in Form

+77 Rsl tole

 

Debtor 1 Gerald W. Deemer

Debtor 2 CO 1. There is no presumption of abuse

(Spouse, if filing)

ll 2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2).

United States Bankruptcy Court for the: Middle District of Florida

Case number 6:18-bk-01138
: (if known) C1 3, The Means Test does not apply now because of
qualified military service but it could apply later.

Wi Check if this is an amended filing

Official Form 122A - 1 Second Amanda

Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

a Calculate Your Current Monthly Income

|. What is your marital and filing status? Check one only.

Hi Not married. Fill out Column A, lines 2-11.
DC Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
(J Married and your spouse is NOT filing with you. You and your spouse are:
LZ) Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

C1 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 US.C.§
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. If you have'nothing to report for any line; write $0. in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

 

2. Your gross wages, Salary, tips, bonuses, overtime, and commissions (before all
payroll deductions).
3, Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. 0.00 ¢ |
4. All amounts from any source which are regularly paid for household expenses |
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not $ 0.00

3,850.00 ¢

filled in. Do not include payments you listed on line 3. $
5. Net income from operating a business, profession, or farm
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses “$ 0.00
Net monthly income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 $
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from rental or other real property — $ 0.00 Copy here -> $ 0.00 $
7. Interest, dividends, and royalties $ 0.00 $
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

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Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 11 of 22

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Debtor 4 Gerald W. Deemer Case number (if known) 6:18-bk-01138
Golumn A Column B
Debtor 1 Debtor 2 or

non-filing spouse
8. Unemployment compensation 3 0.00 3
Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:
For you $ 0.00
For your spouse $
9, Pension or retirement income. Do not include any amount received that was a 0.0
benefit under the Social Security Act. $ -00

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the
total below.
0.00 $

0.00 $
0.00 $

PAF

Total amounts from separate pages, if any. +

11. Calculate your total current monthly income. Add li 2 through 10 for |
y y sito: @alecaiele. 3,850.00 + 5

each column. Then add the total for Column A to the total for Column B. | = $ 3,850.00

‘Total current monthly
income

[Part 2: | Determine Whether the Means Test Applies to You

|
| 12, Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11 Copy line 11 here=> |$ 3,850.00

Multiply by 12 (the number of months in a year) x 12

12b. The result is your annual income for this part of the form 12b.|g 46,200.00

13. Calculate the median family income that applies to you. Follow these steps:

Fillin the state in which you live. FL

Fill in the number of people in your household. 1

Fill in the median family income for your state and size of household. 13. |¢ 45,703.00
To find a list of applicable median income amounts, go online using the link specified in the separate instructions |
for this form. This list may also be available at the bankruptcy clerk’s office.
14, How do the lines compare?
14a. [1 Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.
14b. Ml Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2
Go to Part 3 and fill out Form 122A-2

foo Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

X /si Gerald W. Deemer
Gerald W. Deemer
Signature of Debtor 1
Date July 8, 2019
MM/DD /YYYY
If you checked line 14a, do NOT fill out or file Form 122A-2

If you checked line 14b, fill out Form 122A-2 and file it with this form

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
Software Copyrighl (c) 1996-2019 Best Case, LLC - www bestcase com Best Case Bankrupicy
Fill in this information to identify your case:

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Check the appropriate box as directed in

 

lines 40 or 42:
Debtor 1 Gerald W. Deemer
According to the calculations required by this
Debtor 2 Statement:

(Spouse, if filing)

HB 4. There is no presumption of abuse.

United States Bankruptcy Court for the: Middle District of Florida

CO 2, There is a presumption of abuse.

Case number 6§:18-bk-01138
(if known)

Mi Check if this is an amended filing

Official Form 122A - 2

 

Chapter 7 Means Test Calculation

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

ree Determine Your Adjusted Income

1. Copy your total current monthly income. Copy line 11 from Official Form 122A-1 here=>........ $ 3,850.00
2. Did you fill out Column B in Part 1 of Form 122A-1?
Hi No. Fill in $0 for the total on line 3.
C1 Yes. Is your spouse Filing with you?
O No. Go to line 3.
0 Yes. Fill in $0 for the total on line 3.
3. Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
household expenses of you or your dependents. Follow these steps:
On line 11, Column B of Form 122A—1, was any amount of the income you reported for your spouse NOT regularly used for the household
expenses of you or your dependents?
Hi No. Fillin 0 for the total on line 3.
C1 Yes, Fill in the information below:
State each purpose for which the income was used Fill in the amount you
For example, the income is used to pay your spouse's tax debt or to are subtracting from
support other than you or your dependents. your spouse s income
$
$
$
Total. $ 0.00
Copy total here=>... - ¢ 0.00
4. Adjust your current monthly income. Subtract line 3 from line 1 $ 3,850.00
Official Form 122A-2 Chapter 7 Means Test Calculation page 1

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Besl Case Bankruplcy
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Debtor 1 Gerald W. Deemer Case number (if known) 6:18-bk-01138
Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
instructions for this form. This information may also be available at the bankruptcy clerk's office.
Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouse's
income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.
If your expenses differ from month to month, enter the average expense.
Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.
5. The number of people used in determining your deductions from income
|
Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from 1
the number of people in your household.
National Standards You miist use the IRS National Standards to answer the questions in lines 6-7.
6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National 639.00
Standards, fill in the dollar amount for food, clothing, and other items. $ 9.0
7. Qut-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS Nationa! Standards, fill in
the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
higher than this IRS amount, you may deduct the additional amount on line 22.
People who are under 65 years of age
7a. Out-of-pocket health care allowance per person $ 49.00
7b. Number of people who are under 65 Xx 1
7c. Subtotal. Multiply line 7a by line 7b. $ 49.00 Copyhere=> — $ 49.00
People who are 65 years of age or older
7d. Out-of-pocket health care allowance per person $ 117.00
7e. Number of people who are 65 or older Xx 0
7f. Subtotal. Multiply line 7d by line 7e. $ 0.00 Copy here=> — +$ 0.00
7g. Total. Add line 7c and line 7f $ 49.00 Copy total here=> $ 49.00
Official Form 122A-2 Chapter 7 Means Test Calculation page 2

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Case 6:18-bk-01138-CCJ Doc 49 Filed 07/08/19 Page 14 of 22

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Debtor 4 Gerald W. Deemer Case number (if known) 6:18-bk-01138
Local Standards You must use the IRS Local Standards to answer the questions in lines 8-15.
Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:
i Housing and utilities - Insurance and operating expenses
i Housing and utilities - Mortgage or rent expenses
To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
To find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk's office.
8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill 00
in the dollar amount listed for your county for insurance and operating Expenses. ............... ccc 445.
9. Housing and utilities - Mortgage or rent expenses:
9a. Using the number of people you entered in line 5, fill in the dollar amount 0
listed for your county for mortgage or rent ExPENSES............. cece $ 845.00
9b. Total average monthly payment for all mortgages and other debts secured by your home.
To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file
for bankruptcy. Then divide by 60.
Name of the creditor Average monthly
payment
Specialized Loan Servicing $ 867.28
Copy Repeat this
t
Total average monthly payment $ 867.28  here=> = -$ 867.28 Wessa.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage Copy
or rent expense). If this amount is less than $0, enter $0. ....0..000000c $ 0.00 here=> $ 0.00
10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
affects the calculation of your monthly expenses, fill in any additional amount you claim. 0.00
Explain why:
11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
D 0. Go to line 14.
HE 4. Goto line 12.
0 2 or more. Go to line 12.
12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the 15.00
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. $ 215.
Official Form 122A-2 Chapter 7 Means Test Calculation page 3

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Best Case Bankruptcy
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Debtor1 Gerald W. Deemer Case number (ifknown) 6:18-bk-01138

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
more than two vehicles.

Vehicle Describe Vehicle 1: 5998 Ford Escape 177,297 miles VIN 1FMCU031X8KD85066

13a. Ownership or leasing costs using IRS Local Standard..........-.2...c::eseetereerereeneres $ 485.00

13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.

To calculate the average monthly payment here and on line 13e, add all amounts that
are contractually due to each secured creditor in the 60 months after you filed for
bankruptcy. Then divide by 60.

Name of each creditor for Vehicle 1 Average monthly
payment
DT Credit Company, LLC $ 457.02
Copy Repeat this
Total Average Monthly Payment $ 457.02 (here=> -$ 457.02 ae
13c. Net Vehicle 1 ownership or lease expense | wopy hit
Subtract line 13b from line 13a. if this amount is less than $0, enter $0. bile
$ 27.98 here => $ 27.98
|
Vehicle 2 Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard. ....2-2-..0.:ccccscssseesenettesseeeteenenees $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
$
Copy Repeat this
Total Average Monthly Payment = $ neh $ 0.00 fesse
13f. Net Vehicle 2 ownership or lease expense vey ae
cle
Subtract line 13e from line 13d. if this amount is less than $0, enter $0. ..........ccen expense
$ 0.00 here=> $ 0.00
14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public 5 0.00

Transportation expense allowance regardless of whether you use public transportation.

15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may

not claim more than the IRS Local Standard for Public Transportation. $ 0.00

Official Form 122A-2 Chapter 7 Means Test Calculation page 4
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Debtor 1

Other Necessary Expenses

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Gerald W. Deemer Case number (ifknown)  6§:18-bk-01138

the following IRS categories.

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
and subtract that number from the total monthly amount that is withheld to pay for taxes
Do not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
contributions, union dues, and uniform costs.

Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than
term.

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
administrative agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35,

20. Education: The total monthly amount that you pay for education that is either required:

Mf as a condition for your job, or
IB for your physically or mentally challenged dependent child if no public education is available for similar services.

21, Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool
Do not include payments for any elementary or secondary school education.

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
by a health savings account. Include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savings accounts should be listed only in line 25.

23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business ceil
phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
income, if it is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.

Add lines 6 through 23
Official Form 122A-2 Chapter 7 Means Test Calculation

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In addition to the expense deductions listed above, you are allowed your monthly expenses for

$

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565.05

0.00

0.00

0.00

0.00

0.00

0.00 |

0.00 |

1,941.03

page 5
Best Case Bankruptcy
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Deblr1 Gerald W. Deemer Case number (ifknown) 6:18-bk-01138
Additional Expense Deductions These are additional deductions allowed by the Means Test.

Noite: Do not include any expense allowances listed in lines 6-24,

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
your dependents

Health insurance $ 213.77
Disability insurance $ 0.00
Health savings account +$ 0.00
Total $ 213.77 Copy total here=> s 213.77

Do you actually spend this total amount?

oO No. How much do you actually spend?
Yes $
26. Continued contributions to the care of household or family members. The actual monthly expenses that you will

continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses. These expenses may

include contributions to an account of a qualified ABLE program. 26 U.S.C.§ 529A(b). $ 0.00
27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the

safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

By law, the court must keep the nature of these expenses confidential. $ 0.00
28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on

line 8.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line

8, then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional 0.00

amount claimed is reasonable and necessary. $ .
29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than

$160.42" per child) that you pay for your dependent children who are younger than 18 years old to attend a private or

public elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount

claimed is reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment. $ 0.00
30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are

higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more

than 5% of the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate

instructions for this form. This chart may also be available at the bankruptcy clerk's office.

You must show that the additional amount claimed is reasonable and necessary. $ 0.00
31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial 0.00

instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2). +$ .
32, Add all of the additional expense deductions. $ 213.77

Add lines 25 through 31

Official Form 122A-2 Chapter 7 Means Test Calculation page 6

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Debtor1 Gerald W. Deemer Case number (ifknown)  6:18-bk-01138
Deductions for Debt Payment
33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e.
To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60.
Mortgages on your home: Average monthly
payment
33a. Copy line 9b here i a Be OC = $ 867.28
Loans on your first two vehicles:
33b. Copy line 13b here => $$ 457.02
33c. Copy line 13e here => § 0.00
33d. List other secured debts:
Name of each creditor for other secured debt Identify property that secures the debt Does payment
: include taxes or
insurance?
O No
-NONE- O Yes $
O No
O Yes $
O No
O Yes +3
Copy
. total |
33e. Total average monthly payment. Add lines 33a through 33d i$ 1,324.30 neres> $ 1,324.30
|
' |
34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?
OO No. Goto line 35.
HH Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in tine 33, to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.
Name of the creditor Identify property that secures the debt Total cure Monthly cure
amount amount
. 16223 Hillside Circler Montverde, FL
Specialized Loan Servicing 34756 Lake County $ 30,000.00 -¢go= ¢ 500.00
+60= $
$ +60 = +$
Copy
total
Total $ 500.00 = pere=> $ 500.00
35. Do you owe any priority claims such as a priority tax, child support, or alimony - that
are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
H No. Goto line 36.
© Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in line 19.
Total amount of all past-due priority claims $ 0.00 +60= $ 0.00
Official Form 122A-2 Chapter 7 Means Test Calculation page 7

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Case 6:18-bk-01138-CCJ Doc 49 _ Filed 07/08/19 Page 19 of 22

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Debtor1 Gerald W. Deemer Case number (if known) 6:18-bk-01138
36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.
DO No. Goto line 37.
Ml Yes. Fill in the following information.
Projected monthly plan payment if you were filing under Chapter 13 $ 1,825.00
Current multiplier for your district as stated on the list issued by the
Administrative Office of the United States Courts (for districts in Alabama
and North Carolina) or by the Executive Office for United States Trustees
(for all other districts). 10.00
To find a list of district multipliers that includes your district, go online using
the link specified in the separate instructions for this form. This list may also
be available at the bankruptcy clerk’s office.
Copy total
Average monthly administrative expense if you were filing under Chapter 13 $ 182.50 here=> $ 182.50
37, Add all of the deductions for debt payment. $ 2,006.80
Add lines 33e through 36.
Total Deductions from Income
38. Add all of the allowed deductions.
Copy line 24, All of the expenses allowed under IRS
expense allowances $ 1,941.03
Copy line 32, All of the additional expense deductions $ 213.77
Copy line 37, All of the deductions fordebtpayment === 8 2,006.80
Total deductions $ 4,161.60 — Copy total here........... => $ 4,161.60 |
Determine Whether There is a Presumption of Abuse
39, Calculate monthly disposable income for 60 months
39a. Copy line 4, adjusted current monthly income $ 3,850.00
39b. Copy line 38, Tota/ deductions -$ 4,161.60
39c. Monthly disposable income. 11 U.S.C. § 707(b)(2). | Copy
Subtract line 39b from line 39a | §$ -311.60 here=>$ -311.60
For the next 60 months (5 years) x 60
Copy
39d. Total. Multiply line 39cby 60 39d. $ -18,696.00 — jrere=> $ 18,696.00

40. Find out whether there is a presumption of abuse. Check the box that applies:
MW The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.

CO The line 39d is more than $12,850". On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
Part 4 if you claim special circumstances. Go to Pait 5.

OD The line 39d is at least $7,700*, but not more than $12,850". Go to line 41.

*Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.

Official Form 122A-2 Chapter 7 Means Test Calculation page 8
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Debtor 1 Gerald W. Deemer Case number {if known) 6:18-bk-01138

41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out
A Summary of Your Assets and Liabilities and Certain Statistical Information
Schedules (Official Form 106Sum), you may refer to line 3b on that form.

Co
41b. 25% or your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1)— $ a $

Multiply line 41a by 0.25.0... ccc ceseseteereeersneneseeeestsenesnenteeteerrernesteratertigs

42, Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
25% of your unsecured, nonpriority debt.
Check the box that applies:

CD Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5.

(1 Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a
presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable alternative? 11 U.S.C. § 707(b)(2){B).

HI No. Goto Part 5.

O Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
adjustments.

 

Give a detailed explanation of the special circumstances Average monthly expense
: or income adjustment

re F&F F&

Sign Below |

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

X /si Gerald W. Deemer
Gerald W. Deemer
Signature of Debtor 1

Date July 8, 2019
MM/DD /YYYY

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 9
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Debtor1 Gerald W. Deemer Case number (ifknown) 6:18-bk-01138

Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 09/01/2017 to 02/28/2018.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Income
Constant income of $3,850.00 per month.

Official Form 122A-2 Chapter 7 Means Test Calculation page 10

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United States Bankruptcy Court
Middle District of Florida

Inre Gerald W. Deemer Case No. 6:18-bk-01138
Debtor(s) Chapter 7

CERTIFICATE OF SERVICE

I hereby certify that on July 8 2019, a copy of Statement of Intention, Amended Schedules I & J, Amended
Summary of Assets and Second Amended Statement of Current Monthly Income/Means Test was served
electronically or by regular United States mail to all interested parties, the Trustee and U.S. Trustee.

/s/ Partin Whitaker

Partin Whitaker 123369

Bogin, Munns, & Munns, P.A.
PO Box 2807

Orlando, FL 32802-2807
407-578-1334Fax:407-578-2801
pwhitaker@boginmunns.com

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